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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                            UNITED STATES DISTRICT COURT                          September 12, 2022
                         FOR THE SOUTHERN DISTRICT OF TEXAS                        Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


JOE RICHARD “TREY” POOL, III,                  §
et. al,                                        §
                                               §
       Plaintiffs                              §
                                               §
v.                                             §      Civil Case No. 4:19-cv-02236
                                               §
CITY OF HOUSTON, et al.,                       §
                                               §
       Defendants.                             §

                                        [   ORDER

       Upon consideration of Plaintiffs’ unopposed motion for extension of time to file a reply

in support of their fee motion, it is

       HEREBY ORDERED that the Plaintiff’s motion is GRANTED. The reply deadline is

hereby suspended pending resolution of the Plaintiffs’ motion for leave to amend their fee

request.




              September 12, 2022
       Date:_______________________________             _______________________________
                                                                  Lee H. Rosenthal
                                                         Chief United States District Judge
